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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                            CASE NO. 04-80791
                      Plaintiff,                            HON. LAWRENCE P. ZATKOFF

v.

MICHAEL WRIGHT.

                  Defendant.
__________________________________/

                                     ORDER TO STRIKE

       On January 23, 2006, Defendant Michael Wright filed pleadings entitled “Surety Bond” and

“Arbitration Award” as docket numbers 83 and 84. These pleadings were not properly filed by

Defendant Wright’s attorney. In addition, the Court finds that these pleadings are frivolous. For

these reasons, the Court HEREBY ORDERS the Clerk’s Office to STRIKE Defendant Wright’s

January 23, 2006 “Surety Bond” and “Arbitration Award.”

       IT IS SO ORDERED.



                                             s/Lawrence P. Zatkoff
                                             LAWRENCE P. ZATKOFF
                                             UNITED STATES DISTRICT JUDGE
Dated: February 16, 2006

                                   CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of record
by electronic or U.S. mail on February 16, 2006.


                                             s/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290
